Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 1 of 101 Page ID
                                  #:4277




 EXHIBIT B Continued
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 2 of 101 Page ID
                                  #:4278
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 3 of 101 Page ID
                                  #:4279
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 4 of 101 Page ID
                                  #:4280
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 5 of 101 Page ID
                                  #:4281
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 6 of 101 Page ID
                                  #:4282
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 7 of 101 Page ID
                                  #:4283
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 8 of 101 Page ID
                                  #:4284
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 9 of 101 Page ID
                                  #:4285
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 10 of 101 Page ID
                                  #:4286
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 11 of 101 Page ID
                                  #:4287
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 12 of 101 Page ID
                                  #:4288
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 13 of 101 Page ID
                                  #:4289
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 14 of 101 Page ID
                                  #:4290
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 15 of 101 Page ID
                                  #:4291
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 16 of 101 Page ID
                                  #:4292
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 17 of 101 Page ID
                                  #:4293
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 18 of 101 Page ID
                                  #:4294
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 19 of 101 Page ID
                                  #:4295
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 20 of 101 Page ID
                                  #:4296
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 21 of 101 Page ID
                                  #:4297
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 22 of 101 Page ID
                                  #:4298
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 23 of 101 Page ID
                                  #:4299
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 24 of 101 Page ID
                                  #:4300
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 25 of 101 Page ID
                                  #:4301
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 26 of 101 Page ID
                                  #:4302
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 27 of 101 Page ID
                                  #:4303
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 28 of 101 Page ID
                                  #:4304
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 29 of 101 Page ID
                                  #:4305
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 30 of 101 Page ID
                                  #:4306
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 31 of 101 Page ID
                                  #:4307
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 32 of 101 Page ID
                                  #:4308
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 33 of 101 Page ID
                                  #:4309
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 34 of 101 Page ID
                                  #:4310
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 35 of 101 Page ID
                                  #:4311
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 36 of 101 Page ID
                                  #:4312
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 37 of 101 Page ID
                                  #:4313
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 38 of 101 Page ID
                                  #:4314
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 39 of 101 Page ID
                                  #:4315
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 40 of 101 Page ID
                                  #:4316
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 41 of 101 Page ID
                                  #:4317
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 42 of 101 Page ID
                                  #:4318
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 43 of 101 Page ID
                                  #:4319
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 44 of 101 Page ID
                                  #:4320
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 45 of 101 Page ID
                                  #:4321
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 46 of 101 Page ID
                                  #:4322
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 47 of 101 Page ID
                                  #:4323
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 48 of 101 Page ID
                                  #:4324
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 49 of 101 Page ID
                                  #:4325
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 50 of 101 Page ID
                                  #:4326
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 51 of 101 Page ID
                                  #:4327
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 52 of 101 Page ID
                                  #:4328
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 53 of 101 Page ID
                                  #:4329
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 54 of 101 Page ID
                                  #:4330
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 55 of 101 Page ID
                                  #:4331
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 56 of 101 Page ID
                                  #:4332
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 57 of 101 Page ID
                                  #:4333
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 58 of 101 Page ID
                                  #:4334
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 59 of 101 Page ID
                                  #:4335
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 60 of 101 Page ID
                                  #:4336
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 61 of 101 Page ID
                                  #:4337
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 62 of 101 Page ID
                                  #:4338
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 63 of 101 Page ID
                                  #:4339
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 64 of 101 Page ID
                                  #:4340
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 65 of 101 Page ID
                                  #:4341
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 66 of 101 Page ID
                                  #:4342
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 67 of 101 Page ID
                                  #:4343
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 68 of 101 Page ID
                                  #:4344
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 69 of 101 Page ID
                                  #:4345
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 70 of 101 Page ID
                                  #:4346
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 71 of 101 Page ID
                                  #:4347
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 72 of 101 Page ID
                                  #:4348
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 73 of 101 Page ID
                                  #:4349
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 74 of 101 Page ID
                                  #:4350
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 75 of 101 Page ID
                                  #:4351
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 76 of 101 Page ID
                                  #:4352
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 77 of 101 Page ID
                                  #:4353
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 78 of 101 Page ID
                                  #:4354
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 79 of 101 Page ID
                                  #:4355
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 80 of 101 Page ID
                                  #:4356
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 81 of 101 Page ID
                                  #:4357
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 82 of 101 Page ID
                                  #:4358
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 83 of 101 Page ID
                                  #:4359
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 84 of 101 Page ID
                                  #:4360
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 85 of 101 Page ID
                                  #:4361
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 86 of 101 Page ID
                                  #:4362
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 87 of 101 Page ID
                                  #:4363
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 88 of 101 Page ID
                                  #:4364
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 89 of 101 Page ID
                                  #:4365
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 90 of 101 Page ID
                                  #:4366
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 91 of 101 Page ID
                                  #:4367
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 92 of 101 Page ID
                                  #:4368
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 93 of 101 Page ID
                                  #:4369
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 94 of 101 Page ID
                                  #:4370
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 95 of 101 Page ID
                                  #:4371
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 96 of 101 Page ID
                                  #:4372
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 97 of 101 Page ID
                                  #:4373
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 98 of 101 Page ID
                                  #:4374
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 99 of 101 Page ID
                                  #:4375
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 100 of 101 Page ID
                                   #:4376
Case 2:22-cv-09462-DMG-ADS Document 23-13 Filed 03/13/23 Page 101 of 101 Page ID
                                   #:4377
